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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

          v.                                          Case No. 21-cr-138-JEB

    AARON MOSTOFSKY,

               Defendant.

                       GOVERNMENT’S SENTENCING MEMORANDUM

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Aaron Mostofsky to fifteen months’ incarceration, in the middle of the applicable

advisory Sentencing Guidelines range, three years of supervised release, $2,000 in restitution, and

the mandatory special assessment for all three counts of conviction.

     I.         INTRODUCTION

          The defendant, Aaron Mostofsky, participated in the January 6, 2021 attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred police officers, and resulted in more than 2.7 million dollars’ of

losses. 1



1
  As of April 5, 2022, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,734,783.15. That amount reflects, among other things, damage to the United
States Capitol building and grounds and certain costs borne by the United States Capitol Police.

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         Mostofsky, dressed as a self-professed caveman and carrying a walking stick or rod, was

among the first to breach the restricted area around the Capitol. He forcibly pushed against

officers who were attempting to adjust barriers in the West Terrace area to keep rioters from

entering the Capitol building. After impeding officers, Mostofsky joined the crowd breaking into

the building itself. At 2:13 p.m., Mostofsky was the twelfth person to enter the Senate Wing

doors, the area where rioters first breached the Capitol building. Mostofsky stole protective gear,

a Capitol Police bullet-proof vest and a riot shield, leaving police officers who might have used

those items more vulnerable during the violent attack at the U.S. Capitol.

         The government recommends that the Court sentence Mostofsky to 15 months’

incarceration, which is the middle of the advisory Guidelines’ range of 12-18 months. A 15-month

sentence reflects the gravity of Mostofsky’s conduct and acknowledges his admission of guilt.

   II.        FACTUAL BACKGROUND

         A.     The January 6, 2021 Attack on the Capitol

         On January 6, 2021, hundreds of rioters, Mostofsky among them, unlawfully broke into

the U.S. Capitol Building in an effort to disrupt the peaceful transfer of power after the November

3, 2020 presidential election. Many rioters attacked and injured police officers, sometimes with

dangerous weapons; they terrified congressional staff and others on scene that day, many of whom

fled for their safety; and they ransacked this historic building—vandalizing, damaging, and

stealing artwork, furniture, and other property. Although the facts and circumstances surrounding

the actions of each rioter who breached the U.S. Capitol and its grounds differ, each rioter’s actions

were illegal and contributed, directly or indirectly, to the violence and destruction that day. See

United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a

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mob without the numbers. The people who were committing those violent acts did so because they

had the safety of numbers.”) (Statement of Judge Chutkan).

       As set forth in the PSR and the Statement of Offense incorporated into Mostofsky’s plea

agreement, a joint session of Congress had convened at approximately 1:00 p.m. at the U.S.

Capitol. Members of the House of Representatives and the Senate were meeting in separate

chambers to certify the vote count of the Electoral College of the November 3, 2020 Presidential

election. By approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Mike Pence was present and presiding, first in the

joint session, and then in the Senate chamber.

       As the proceedings continued, a large crowd gathered outside the U.S. Capitol. Temporary

and permanent barricades were in place around the exterior of the building, and U.S. Capitol Police

were present and attempting to keep the crowd away from the building and the proceedings

underway inside. At approximately 2:00 p.m., Mostofsky and others forced their way over the

barricades and past the officers, and the crowd advanced to the exterior of the building. 2 Members

of the crowd did not submit to standard security screenings or weapons checks by security officials.

       The vote certification proceedings were still underway, and the exterior doors and windows

of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to keep the crowd from entering; however, shortly after 2:00 p.m., Mostofsky and other

rioters forced their way in, breaking windows and assaulting police officers along the way, while




2
  Mostofsky was among the first wave of rioters entering the Capitol’s restricted area through
the initial breach of the Capitol’s perimeter at Peace Circle. See Exhibit 1.

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others in the crowd cheered them on. 3

         At approximately 2:20 p.m., members of the House of Representatives and the Senate,

including the President of the Senate, Vice President Pence, were forced to evacuate the chambers.

All proceedings, including the joint session, were effectively suspended. The proceedings resumed

at approximately 8:00 p.m. after the building had been secured. Vice President Pence remained in

the United States Capitol from the time he was evacuated from the Senate Chamber until the

session resumed. See Statement of Offense (ECF 94) ¶¶ 2-7; PSR ¶¶ 18-22.

    Attempted Breach of the Capitol Building and Assaultive Conduct in the West Front of the
                                        Capitol Grounds

         Assaults against police officers on the West Front of the Capitol Grounds made the rioters’

entry into the United States Capitol Building on January 6, 2021, possible. Initiated by the most

fervent smaller groups and individuals within the crowd and using the mob itself as a cloak for

their actions, each blow helped the crowd penetrate further into the United States Capitol Police’s

(“USCP”) defenses until the building itself was accessible and the occupants were at risk. The

physical breaches of the building can therefore be traced directly back to the assaultive conduct

on the grounds of the West Front.




3
  Mostofsky was among the first wave of rioters to enter the U.S. Capitol. Specifically, he was
the twelfth person to enter the Senate Wing Doors the area of the initial breach into Capitol. See
Exhibit 3.
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                                                       B           C




                                                  A




  Image 1: Open-Source Rendering of Capitol Building and Grounds as they appeared on January 6, 2021, credited to Twitter
                                       users @ne0ndistraction & @sansastark525.


        The outer perimeter of the Capitol Grounds, made up of bicycle-rack style fencing, bore

numerous signs stating, “AREA CLOSED – By order of the United States Capitol Police Board[.]”

These fences were not actively manned, but members of the USCP were stationed nearby as well

as patrolling throughout the grounds. At approximately 12:45 p.m., a crowd began to gather

against the barricades near the Peace Monument, which led to the Pennsylvania Walkway. Seeing

this, a half dozen USCP officers began to gather behind what is labeled in Government’s Image 1

as “1st Police Barricade,” circled in red and marked as Area A. At 12:52 p.m., the first breach

of the outer perimeter occurred, with several members of the crowd jumping over and pushing

down the unmanned bicycle-rack barricades at the Peace Circle and advancing into the restricted
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area to engage with USCP officers at the first manned barrier. Less than a minute later, with the

crowd already numbering in the hundreds, the handful of USCP police officers in and around the

barrier were shoved out of the way by the mob. By 12:58, the rioters had crossed the unmanned

barrier halfway down the Pennsylvania Walkway and overwhelmed the second manned police

barrier, Area B on Government’s Image 1. They flooded the area labeled “Lower West Plaza,”

Area C on Government’s Image 1, pushing against the barricade there.




  Image 2: Stills from USCP security footage showing the progression of the crowd, from the outer barricades (top left), to the
   first manned police barricade (top right), to engaging with USCP at the second manned police barricade (bottom left), and
                                      beginning to fill the Lower West Plaza (bottom right).


         Despite the more-permanent nature of the metal fencing at the West Plaza barricade and

the growing number of USCP officers responding to the area, the crowd remained at this location

for less than a minute, pushing through and over the fence to the front of the plaza. For the next

hour and a half, a growing number of police officers were faced with an even faster growing

number of rioters in the restricted area, the two sides fighting over the establishment and
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reinforcement of a police defensive line on the plaza with fists, batons, makeshift projectiles,

pepper spray, pepper balls, concussion grenades, smoke bombs, and a wide assortment of

weaponry brought by members of the crowd or seized from the inaugural stage construction site.




 Image 3: The breach of the West Plaza barricades (top left) was followed by the formation of a USCP officer wall (top right)
 until MPD officers arrived with bike rack barriers for a defensive line at the top of the West Plaza stairs (bottom left). In the
  photo of the nearly completed bicycle rack barrier line as of 1:39 p.m., a large Trump billboard which would later be used
                             against the police line like a battering ram is visible (bottom right).


        Following the conclusion of President Trump’s speech at approximately 1:15 p.m., the

crowd began to grow even more rapidly, supplemented by those who had walked the mile and a

half from the Ellipse to the Capitol. At 2:03 p.m., Metropolitan Police Department (MPD)

officers responding to USCP officers’ calls for help began broadcasting a dispersal order to the

crowd. It began with two blaring tones, and then a 30-second announcement, which was played

on a continuous loop:

        This area is now a restricted access area pursuant to D.C. Official Code 22-1307(b).

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       All people must leave the area immediately. This order may subject you to arrest
       and may subject you to the use of a riot control agent or impact weapon.

Despite the warning and the deployment of riot control chemical agents and flash-bang grenades,

few members of the crowd left.      On the contrary, the mob in the restricted area continued to

grow as crowds streamed towards the West Front, which looked like a battle scene, complete with

an active melee and visible projectiles.

       After having actively defended their line for over an hour, the hundreds of officers at the

front of the inauguration stage were flanked, outnumbered, and under continuous assault from the

thousands of rioters directly in front of them as well as members of the mob who had climbed up

onto scaffolding above and to the side of them, many of whom were hurling projectiles. Because

many of the thousands of people surrounding the officers were not engaged in assaultive conduct,

it was difficult for officers to identify individual attackers or defend themselves. By 2:28 p.m.,

with their situation untenable and openings in the perimeter having already led to breaches of the

building, several large gaps appeared in the police defensive line at the West Front and a general

retreat was called. With their defensive lines extinguished, several police officers were

surrounded by the crowd. The rioters had seized control of the West Plaza and the inauguration

stage. There were now no manned defenses between the crowd and several entrances into the

United States Capitol Building, allowing the stream of rioters that had started entering the building

around 2:13 p.m. to build to a torrent.




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 Image 4: Breakthroughs in the defensive line on both the left and right flanks (top) caused the entire police line to collapse
and individual officers were swallowed by the crowd (middle) and many officers were assaulted as they waited in a group to
                         retreat through doors and stairwells up onto the inaugural stage (bottom).


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                Injuries and Property Damage Caused by the January 6, 2021 Attack

        The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a

grave danger to our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021).

Members of this Court have similarly described it as “a singular and chilling event in U.S. history,

raising legitimate concern about the security—not only of the Capitol building—but of our

democracy itself.” United States v. Cua, No. 21-cr-107, 2021 WL 918255, at *3 (D.D.C. Mar. 10,

2021); see also United States v. Fox, No. 21-cr-108 (D.D.C. June 30, 2021) (Doc. 41, Hrg. Tr. at

14) (“This is not rhetorical flourish. This reflects the concern of my colleagues and myself for what

we view as an incredibly dangerous and disturbing attack on a free electoral system.”); United

States v. Chrestman, No. 21-mj-218, 2021 WL 765662, at *7 (D.D.C. Feb. 26, 2021) (“The actions

of this violent mob, particularly those members who breached police lines and gained entry to the

Capitol, are reprehensible as offenses against morality, civic virtue, and the rule of law.”).

        In addition, the rioters injured more than a hundred police officers. See Staff of Senate

Committees on Homeland Security and Governmental Affairs and on Rules and Administration

Report, Examining the Capitol Attack: A Review of the Security, Planning, and Response Failures

on       January        6      (June       7,       2021),       at      29,       available         at

https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.Capitol

Attack.pdf (describing officer injuries). Some of the rioters wore tactical gear and used dangerous

weapons and chemical irritants during hours-long hand-to-hand combat with police officers. 4 See

id. at 27-30.



4
  Mostofsky did not bring tactical gear, but he stole U.S. Capitol Police tactical gear during the
attack on the U.S. Capitol.
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       Moreover, the rioters inflicted significant emotional injuries on police officers and others

on scene that day who feared for their safety. See id; see also Architect of the Capitol, J. Brett

Blanton, Statement before the House of Representatives Committee on House Administration

(May        19,      2021),     available     at        https://www.aoc.gov/sites/default/files/2021-

05/AOC_Testimony_CHA_Hearing-2021-05-19.pdf (describing the stress suffered by Architect

of the Capitol employees due to the January 6, 2021, attack).

       Finally, the rioters stole, vandalized, and destroyed property inside and outside the U.S.

Capitol Building. They caused extensive, and in some instances, incalculable, losses. This included

wrecked platforms, broken glass and doors, graffiti, damaged and stolen sound systems and

photography equipment, broken furniture, damaged artwork, including statues and murals, historic

lanterns ripped from the ground, and paint tracked over historic stone balustrades and Capitol

Building hallways. See id; see also United States House of Representatives Curator Farar Elliott,

Statement Before the House Appropriations Subcommittee on the Legislative Branch (Feb. 24,

2021), available at https://docs.house.gov/meetings/AP/AP24/20210224/111233/HHRG-117-

AP24-Wstate-ElliottF-20210224.pdf (describing damage to marble and granite statues). As set

forth in the Statement of Offense, the attack resulted in substantial damage to the U.S. Capitol and

other losses recently estimated at more than 2.7 million dollars.

       B.         Defendant’s Role in the January 6, 2021 Attack on the Capitol

                     Approach to the Capitol and Breach of the Restricted Area

       Aaron Mostofsky participated in the January 6 attack on the Capitol and stole protective

gear intended for the Capitol Police officers protecting the building. Mostofsky’s crimes are

documented in his posts, videos provided to the FBI by concerned citizens, body-worn camera

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video from the MPD, open-source video, and surveillance footage from inside and outside of the

Capitol.

       On January 6, 2021, Mostofsky traveled to Washington, D.C. by bus from his home in New

York City, and texted or posted “DC bound stopthesteal.” See ECF 94 ¶ 8; PSR ¶ 23. Mostofsky

arrived at the Capitol, clothed in what appeared to be animal furs and carrying a stick or rod, to

announce that the fraud in the 2020 presidential election was so obvious, even a “caveman” would

know the election was stolen, as he explained in a chat with a friend on January 5, 2021. See ECF

94 ¶ 8; PSR ¶ 23.    Under his cloak Mostofsky had a large black bag. See Exhibit 1 and Image

5. 5




                                             Image 5



5
  Videos identified as Exhibits in this filing will be provided to the Court and defense counsel
prior to scheduled sentencing hearing via USAFx.
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       Once on the Capitol grounds near the Peace Circle, Mostofsky saw rioters arguing with

Capitol Police officers on the perimeter of the restricted grounds surrounding the U.S. Capitol in

Area A in Image 1. Those officers were standing behind fencing with signs that read: AREA

CLOSED By Order of the United States Capitol Police Board. See Id. and Image 6. From this

location at 12:55 p.m., Mostofsky saw members of the crowd breach the police line and force

police to retreat to the West Plaza. See ECF 94 ¶ 9; PSR ¶ 24.




                                             Image 6

Within three minutes of that breach that initiated the entire attack on the U.S. Capitol, Mostofsky

was in the West Plaza, near Area B and C in Image 1. See Image 7.




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                                            Image 7

       Rioters forcibly removed barriers and pursued officers from the Peace Circle to the West

Plaza, where they continued to confront officers. In the West Plaza area, Capitol Police officers

continued their attempts to repulse rioters though they were heavily outnumbered. Meanwhile,

Mostofsky raised his fist in agreement to chants and siege of the U.S. Capitol. See Image 8.




                                            Image 8
                                              14
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       At approximately 1:10 p.m., MPD officers arrived at the West Front to assist in the defense

of the U.C. Capitol. See Exhibits 2 and 3.

                             Obstruction of Officers during a Civil Disorder

       Following the initial breach, Mostofsky joined a large crowd on the West Plaza at the foot

of the inaugural stage, behind yet another police line. See Images 9, 10, and 11. In this area, for

approximately an hour, the rioters engaged in continuing skirmishes with the police over the fence

lines. At approximately 1:34 p.m., Mostofsky forcibly and intentionally engaged in one of these

skirmishes, pushing against a barrier that officers attempting to adjust to provide additional space

between the rioters and the Capitol. See ECF 94 ¶ 10; PSR ¶ 25; Exhibits 2, 3 and 4; Image 9,

10, and 11.

       In this area, Mostofsky saw rioters yelling at and confronting officers. He saw officers

using chemical irritants on the rioters and saw rioters physically assault officers. See Exhibits 2,

3 and 4. Amidst this chaos and just prior to his engagement with officers, Mostofsky cheered

rioters efforts, fist bumping another rioter, steps back from the police line. See Image 9.




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                            Image 9 – Mostofsky fist bumps another rioter

       Within seconds of his fist bump, officers attempted to move a barrier, a bike rack, to

provide additional space between the rioters and the Capitol, and limit the crowd’s access to the

Capitol. See ECF 94 ¶ 10; PSR ¶ 25. Mostofsky saw the officer’s actions (Image 10) and as

officers announced their actions by shouting over the crowd, “Move back, move back,” Mostofsky

joined other rioters to impede the officers. See Exhibit 3. Mostofsky’s decision to obstruct

officers is especially aggravating given the number of rioters overwhelming the officers in the

West Plaza area. See Images 3 and 10.




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                 Image 10-Mostofsky watching officers attempt to adjust barrier

       In joining the crowd to impede officers’ attempts to secure the area, Mostofsky raised his

cloak to cover his face and shield himself from chemical irritants as he moved toward other rioters

engaging the officers. See Image 11.




        Image 11—Mostofsky shielding face as moves towards rioters opposing officers

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          The rioters that Mostofsky joined were grabbing the barrier and pushing their bodies

against the barrier as officers pushed from the other side. See Exhibits 2, 3 and 4. Mostofsky

lent his strength and weight to the rioters efforts by also pushing against the barrier. As noted in

body-worn-camera images below, Mostofsky initially pushed at the barrier from behind other

rioters and only his cloak used to cover is visible. See Image 12.




                                                  Image 12

          As Mostofsky and other rioters exerted force against the barrier, the barrier was lifted and

jostled by the pressure from both officers and rioters. In this encounter, Mostofsky exerted

significant force and was eventually propelled against the barrier. See Exhibit 3 and Images 13

and 14.




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                             Image 13                                              Image 14

       In forcibly pushing against a barrier that officers tried to move, Mostofsky used both his

strength and his body weight to prevent officers’ attempts to establish a perimeter of bike racks. See

Exhibit 4 and Images 15, 16, and 17. It was those protracted, forceful actions that most directly

impeded the police officers’ lawful actions in response to a civil disorder, because it prevented

from keeping the mob out of the Capitol Building .




                                                  Image 15


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                                             Image 16




                                             Image 17
After pushing against officers who attempted to secure the area, Mostofsky headed towards the

northwest scaffolding. See Image 18.




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                                              Image 18

                                Mostofsky Ascends the Scaffolding

       Undeterred after engaging officers in the West Plaza, Mostofsky climbed the northwest

scaffolding to access the Capitol. See ECF 94 ¶ 11; PSR ¶ 26; The scaffolding was located at the

western face of the Capitol building. See Images 2 and 19.




                                              Image 19

       In this area, other rioters had pressed past police attempting to hold the line at the top of the

northwest stairway. At approximately 2:09 p.m., Mostofsky as part of a large group, climbed the two

flights of exterior stairs to the Capitol’s Upper West Terrace area. See Image 20.
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                                             Image 20

         At approximately 2:12 p.m., Mostofsky scurried across the Upper West Terrace. In the

Upper West Terrace Mostofsky grabbed a U.S. Capitol Police bullet-proof vest—apparently taking

it from a large case nearby, where such vests were stored---and dragged the vest with him as he joined

other rioters at the Senate Wing Door. See Image 21 and 22.




                                                  Image 21

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                                                 Image 22

                                     Breach of the U.S. Capitol

       At 2:13 p.m., rioters broke windows adjacent to the Senate Wing door to the Capitol, entered

through those windows, and broke open the Senate Wing door from the inside, all while Mostofsky

stood nearby, watching and donning the bullet-proof vest he had just taken. See Exhibit 5.    Within

seconds, Mostofsky entered the Capitol; he was the twelfth person overall to enter through this door.

See Exhibits 5 and 6 and Image 23.




                                                 Image 23
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Moments after his illegal entry into the Capitol, Mostofsky picked up a Capitol Police riot shield.

See Image 24. The riot shield had been left by a fellow rioter who swapped it out for a fire

extinguisher. In the image below, Mostofsky is wearing the stolen Capitol Police vest and carrying

the shield. Id.




                                                 Image 24

        In this first wave of rioters to enter the Capitol, Mostofsky followed the crowd that pursued

Officer Eugene Goodman up a staircase towards the entrance to U.S. Senate chambers. See ECF 94

¶ 13; PSR ¶ 28 Image 25.




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                                            Image 25

       Within feet of the Senate Chamber’s entrance, Mostofsky flaunted his stolen police vest and

riot shield, posing for pictures and submitting to an interview by a New York Post reporter. See

Images 26 and 27.




                                               Image 26




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                                             Image 27

       At approximately 2:36 p.m., Mostofsky left the Capitol taking both the police vest and riot

shield with him. See Image 25. He had been inside the Capitol for about twenty minutes.




                                             Image 25

       Shortly after Mostofsky left the building, at approximately 2:37 p.m., a Capitol Police officer

stripped him of the Capitol Police riot shield. See ECF 94 ¶ 15; PSR ¶ 30: Image 23.

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                                               Image 22

       Mostofsky ran from the area. He returned the police vest on January 12, 2021 through his

attorney after charges were initiated.

                                         Defendant’s Statements

       While inside the U.S. Capitol, Mostofsky voluntarily agreed to an interview by a New York

Post reporter. During this interview, Mostofsky was photographed holding the stolen Capitol Police

riot shield and wearing the stolen bullet-proof vest over his costume. See Image 24. Mostofsky

stated that he believed the “the election was stolen.” When asked about the riot shield, Mostofsky

claimed to have found it on the floor and that lawmakers “shouldn’t be afraid; they should get the

courage to do their duty to examine the fraud and maybe delay the election.” See Exhibit 8.

       After January 6, law enforcement officials obtained search warrants for Mostofsky’s mobile

device and his Facebook and Instagram accounts. The recovered material revealed that Mostofsky

claimed to have shut down his social media accounts because he was being harassed; however, he

continued to communicate about January 6th events directly with acquaintances via WhatsApp.   On

January 8, 2022, Mostofsky described the Capitol on January 6th in a WhatsApp voice note, stating

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“things were getting thrown left and right, I was pepper sprayed, tear gassed, flash banged.” Serial

62 pg. 37. In that same January 8th conversation, Mostofsky described his theft of police protective

gear as a video game where “I was looking for as much protection, you know when you’re playing a

video game, and you find this thing ... and you’re like I was trying to collect these things that could

protect me.” Id.

          In an earlier WhatsApp voice note on January 7, 2021, Mostofsky admitted he had no

intention of returning the bullet-proof vest stating he “want[ed] to keep it as a heirloom to my great

great great great grandkids as the day when America died.” Id. pg. 31-2. In this January 7th

conversation Mostofsky explained published photos of him and others in the Ohio Corridor were

peacefully talking with cops, “like hey where’s the senators, you know, he was like I have no idea.

I was just sitting down. I’m bored. This is boring…” Id.

          In a Signal chat communication on January 10, 20021, Mostofsky admitted to trespassing,

but claimed his “brother is connected to conservative party and my father’s a Judge; so, unlike other

situations..[t]hey have nothing on me.”    In explaining published photographs of himself inside the

Capitol (Image 23), In his communications, Mostofsky exhibited no remorse for his participation in

the events of January 6.

   III.      THE CHARGES AND PLEA AGREEMENT

          On November 10, 2021 a federal grand jury returned a second superseding indictment

charging Mostofsky with Civil Disorder in violation of 18 U.S.C. § 231(a)(3), Obstruction of an

Official Proceeding and Aiding and Abetting in violation of 18 U.S.C. § 1512(c)(2) and (2),

Assaulting, Resisting, or Impeding Certain Officers in violation of 18 U.S.C. § 111(a)(1), Theft of

Government Property in violation of 18 U.S.C. § 641, Entering or Remaining in any Restricted

Building or Grounds in violation of 18 U.S.C. §§ 1752(a)(1), Disorderly and Disruptive Conduct in

a Restricted Building or Grounds in violation of 18 U.S.C. § 1752(a)(2), Disorderly Conduct in a
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Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(D), and Parading Demonstrating, or

Picketing in a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(G).

         On February 2, 2022, Mostofsky pled guilty to Count One, Civil Disorder in violation of 18

U.S.C. § 231(a)(3), Count Four, Theft of Government Property in violation of 18 U.S.C. § 641, and

Count Five, Entering or Remaining in any Restricted Building or Grounds in violation of 18 U.S.C.

§§ 1752(a)(1).

   IV.      STATUTORY PENALTIES

         Mostofsky now faces sentencing on a felony charge of Civil Disorder in violation of 18 U.S.C.

§ 231(a)(3), and on two misdemeanor charges of Theft of Government Property in violation of 18

U.S.C. § 641 and Entering or Remaining in any Restricted Building or Grounds in violation of 18

U.S.C. §§ 1752(a)(1).

         As noted by the plea agreement and the U.S. Probation Office, Mostofsky faces up to 5 years

of imprisonment, a fine up to $250,000, and a term of supervised release of not more than three years

for Count One, Civil Disorder.

         As noted by the plea agreement and the U.S. Probation Office, Mostofsky faces up to 12

months imprisonment, a fine up to $100,000, and a term of supervised release of not more than one

year for Count Four, Theft of Government Property and for Count Five, Entering or Remaining in

any Restricted Building or Grounds.

   V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         As the Supreme Court has instructed, the Court “should begin all sentencing proceedings by

correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49 (2007).

“As a matter of administration and to secure nationwide consistency, the Guidelines should be the

starting point and the initial benchmark” for determining a defendant’s sentence. Id. at 49. The United

States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of careful study based
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on extensive empirical evidence derived from the review of thousands of individual sentencing

decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at 49.

       The PSR includes an error in grouping and does not include a Guidelines analysis for Count

Five—to which the defendant pleaded guilty. See PSR ¶¶ 35-62. Sections 1B.1(a)(1)-(3) describe the

steps a sentencing court must follow to determine the Guidelines range, which include determining

the applicable Guideline, determining the base offense level, applying appropriate special offense

characteristics, and applying any applicable Chapter 3 adjustments. Under U.S.S.G. § 1B1.1(a)(4),

the applicable Guidelines analysis as set out in U.S.S.G. § 1B1.1(a)(1)-(3) must be “repeat[ed]” for

“each count.” Only after the Guidelines analysis as set out in U.S.S.G. § 1B1.1(a)(1)-(3) is performed,

is it appropriate to “[a]pply” the grouping analysis as set out in Chapter 3.

       The PSR does not follow these steps. It concludes (see PSR ¶ 41) that Counts Four and Five

group—a conclusion with which the government does not agree.

         Under U.S.S.G. § 3D1.2, counts of conviction become part of the same “group”--
               (a) When counts involve the same victim and the same act or
                   transaction.

               (b) When counts involve the same victim and two or more acts or
                   transactions connected by a common criminal objective or
                   constituting part of a common scheme or plan.

               (c) When one of the counts embodies conduct that is treated as a
                   specific offense characteristic in, or other adjustment to, the
                   guideline applicable to another of the counts.

               (d) When the offense level is determined largely on the basis of the
                   total amount of harm or loss, the quantity of a substance
                   involved, or some other measure of aggregate harm, or if the
                   offense behavior is ongoing or continuous in nature and the
                   offense guideline is written to cover such behavior.
                   Specifically excluded from the operation of this subsection are:
                   §§....2B3.

        Application Note 2 to U.S.S.G. § 3D1.2 states in part:

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                 2.    The term "victim" is not intended to include indirect or
                 secondary victims. Generally, there will be one person who is
                 directly and most seriously affected by the offense and is
                 therefore identifiable as the victim. For offenses in which there
                 are no identifiable victims (e.g., drug or immigration offenses,
                 where society at large is the victim), the "victim" for purposes of
                 subsections (a) and (b) is the societal interest that is harmed.

       The government submits the victims who were directly and most seriously affected by

the offense—whom the Guidelines directs the sentencing court to focus on, see U.S.S.G. § 3D1.2,

cmt. n.2—for Counts One, Four, and Five are different. The victims in Count One were the

police officers whose lawful activities to quell a civil disorder were impeded by Mostofsky. The

victim in Count Four was the U.S. Capitol Police Department, the entity who owned the items

Mostofsky stole. See PSR ¶¶ 26, 28. Finally, the victim in Count Five was Congress, the entity

whose business was impeded by Mostofsky’s unlawful trespass in the Capitol Building on

January 6.

       The PSR’s conclusion that “Counts 4 and 5 are grouped together because the counts

involve the same victim (the government) and two or more acts or transactions connected by a

common criminal objective or constituting part of a common scheme or plan. USSG §3D1.2(b),”

PSR ¶ 41, is incorrect. That conclusion treats Counts Four and Five at too high a level of

generality and ignores the fact that Congress and the United States Capitol Police Department

are wholly different official entities. See United States v. Safavian, 461 F. Supp. 2d 76, 84–85

(D.D.C. 2006) (defendant was convicted of making false statements to (a) GSA-OIG; (b) GSA

ethics office, and (3) a Senate Committee; those counts did not group because they had “distinct,

separate victims”), vacated on other grounds, 528 F.3d 957 (D.C. Cir. 2008); see generally

United States v. Kim, 896 F.2d 678, 687 (2nd Cir. 990) (“the interests protected by the
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immigration laws and the currency laws are so distinct that it is not realistic to consider both

offenses to have as a common ‘victim’ the United States.”).

       Because the victims of each count were different, the counts do not group under either

§ 3D1.2(a) or (b). Because none of the counts “embodies conduct that is treated as a specific

offense characteristic in, or other adjustment to, the guideline applicable to another of the counts,”

none of the counts group under 3D1.2(c). Finally, because the offense level for none of the

counts “is determined largely on the basis of the total amount of harm or loss, the quantity of a

substance involved, or some other measure of aggregate harm,” and “the offense behavior” was

not “ongoing or continuous in nature and the offense guideline is written to cover such behavior,”

none of the counts group under § 3D1.2(d). Consequently, none of the three counts group with

any other group, and there are three separate groups. See U.S.S.G. § 3D1.2. The PSR is therefore

incorrect when it states that Counts Two and Three group.

       The Guidelines analysis for each group is as follows:

Count One: 18 U.S.C. § 231(a)(3)

       U.S.S.G. §§ 2X5.1 and 2A2.4(a)          Base Offense Level                              10
       U.S.S.G. § 2A2.4(b)(1)                  Physical Contact                                +3

                                                                               Total           13
Count Four: 18 U.S.C. § 641

       U.S.S.G. §§ 2B1.1                       Base Offense Level                               6

                                                                               Total            6
Count Four: 18 U.S.C. § 1752(a)(1)

       U.S.S.G. § 2B2.3                        Base Offense Level                               6

                                                                               Total            6


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         Under U.S.S.G. § 3D1.4(a) and (b), Count One is assigned one unit and Counts Four

and Five are each assigned a half-unit, yielding a total of two units. Under U.S.S.G. § 3D1.4

to determine the combined offense level, two levels are added to the “group” (Count One) with

the highest adjusted offense level (of 13). Therefore, the Combined Offense Level is 15.

         Combined Offense Level                                                               15
         Acceptance of responsibility (U.S.S.G. §3E1.1)                                       -2

         Total Adjusted Offense Level:                                                        13

      Notably, the parties stipulated to that Guidelines calculation in their plea agreement. See

Plea Agreement at ¶¶ 4(A). “As long as the plea agreement is lawful, a defendant should be bound

by its terms.” United States v. Libretti, 38 F.3d 523, 529 (10th Cir. 1994). Should either party

object to the Court’s acceptance of a stipulation, the Court should disregard it, United States v.

Cianci, 154 F.3d 106, 109–10 (3d Cir. 1998), if not regard as a breach, see United States v. Yusuf,

993 F.3d 167, 178 (3d Cir. 2021) (defendant breached the plea agreement when his attorney

“explicitly argued for a sentence below the guidelines range in breach of his plea agreement”).

         The PSR concluded, ¶¶ 63-69, and the government does not dispute, that Mostofsky’s

Criminal History Category is I. Based on a combined offense level of 13 and a criminal history

category of I, Mostofsky’s sentencing guidelines range is 12 to 18 months’ imprisonment. See

U.S.S.G., Chapt. 5, Part A (Sentencing Table).

   VI.      SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

         In addition to the Guidelines, the Court must consider the sentencing factors in 18 U.S.C.

§ 3553(a), which include: the nature and circumstances of the offense, § 3553(a)(1); the history

and characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford
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adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct, §

3553(a)(6). In this case, as described below, the Section 3553(a) factors weigh in favor of a

sentence at the midpoint of the Guidelines range.

       A.      Nature and Circumstances of the Offense

       The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was one of the

only times in our history when the building was literally occupied by hostile participants. By its

very nature, the attack defies comparison to other events.

       While each defendant should be sentenced based on his or her individual conduct, each

individual person who entered the Capitol and assaulted police on January 6 did so under the most

extreme of circumstances, to which their conduct directly contributed. As Mostofsky approached

the Capitol building, he helped other rioters break through barriers erected by the Capitol Police,

and added his weight and force to a group pushing against the vastly outnumbered police officers

who were vainly attempting to prevent the mob from breaching their lines.

       In assessing Mostofsky’s individual conduct, this Court should consider a number of

critical factors, to include: (1) whether, when, how the defendant entered the Capitol building; (2)

whether the defendant encouraged violence; (3) whether the defendant encouraged any acts of

property destruction; (4) the defendant’s reaction to acts of violence or destruction; (5) whether

during or after the riot, the defendant destroyed evidence; (6) the length of the defendant’s time

inside of the building, and exactly where the defendant traveled; (7) the defendant’s statements in

person or on social media; (8) whether the defendant cooperated with, or ignored, police; and (9)


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whether the defendant otherwise exhibited evidence of remorse or contrition. While these factors

are not exhaustive nor dispositive, they help to place each individual defendant on a spectrum as

to their fair and just punishment.

       Here, Mostofsky was in the twelfth person who breached the Senate Wing Door. That is,

Mostofsky watched other rioters violently break open windows and kick open doors to the Capitol,

and took advantage of that property destruction to enter the building. An hour earlier, Mostofsky

was amongst the first to breach Peace Circle. Within that hour on restricted grounds, he impeded

the overwhelmed officers in the West Plaza and he stole protective equipment. Mostofsky knew

that he and the mob with him had gained access to the Capitol at that location by unlawful and

violent force. Mostofsky cheered on other rioters as they clashed with police outside the Capitol

building, even celebrating with a fist-bump to one of his fellow rioters.

       Mostofsky’s statements to a New York Post television interviewer were also extremely

aggravating. Although Mostofsky is entitled to express his political views, his statements to the

interviewer while the Capitol was under attack illustrate his belief that his views justified his

crimes. By broadcasting those views to a large audience, he encouraged others to follow suit.

That was akin to shouting fire in a crowded movie theater, speech which enjoys no First

Amendment protection.

       By joining a riotous push against the police lines guarding the Capitol, Mostofsky not only

ignored police commands, he physically defied them.

       Finally, Mostofsky’s statements after January 6 showed not only an utter lack of remorse

for his crimes, but rather a brazen celebration of them, exulting in his theft of a police vest he

planned to show his grandchildren when he recounted with pride, decades in the future, his


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participation in the riot. Although Mostofsky ultimately pleaded guilty to several of the charges

against him, the sincerity of his remorse should be viewed in light of the damning video evidence

of his crimes.

       Mostofsky’s theft of protective gear intended for Capitol Police during the deadly attack at

the U.S. Capitol was an especially serious crime. Mostofsky’s theft involved a conscious

disregard for the safety of police officers whom Mostofsky saw overwhelmed and overrun at the

Peace Circle, and physically attacked in the West Plaza. Mostofsky not only took the property

but put on the vest and brandished the shield while posing for pictures inside the Capitol. In using

this stolen protective gear, Mostofsky did more than protect himself and leave officers vulnerable;

he chided police by parading through the Capitol and posing for pictures with his ‘trophies.’

       Mostofsky’s actions on January 6 show an absolute disregard for the rule of law and

coupled with a willingness to mock officers during this violent attack, warrant the incarceration

sentence requested.

       B.        The History and Characteristics of the Defendant

       Mostofsky is a college graduate. He has no prior criminal history. And his decision to

break the law on January 6 was not a single decision but a series of decisions by an educated person

to choose to violate the law. The defendant’s criminal activity began at approximately 1 p.m.

when he entered into the restricted area around the Capitol near Peace Circle, continued through

an assault or obstruction of officers at approximately 1:34 p.m., continued through his illegal entry

into the Capitol at 2:13 p.m., and continued well past his exiting the building at 2:37 p.m. His

theft of government property continued until January 12, 2002 when after charges were initiated,

he returned the stolen Capitol Police bullet-proof vest. In comparison to persons without the


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defendant’s education or economic support, who commit crimes out of economic need,

defendant’s lack of criminal history and decision to break the law repeatedly because of a

perceived political wrong is not persuasive.

       Mostofsky’s decision to break the law on January 6 was not a single decision but a series

of decisions by an educated person to choose to violate the law. In comparison to persons without

Mostofsky’ education or economic support, who commit crimes out of economic need, defendant’s

lack of criminal history and decision to break the law repeatedly because of a perceived political

wrong is not persuasive.

       On April 28, 2022, the day before this sentencing memorandum was due, Mostofsky

submitted to this Court a psychological evaluation of Mostofsky. Although the government’s

attorneys have reviewed that report, the government has not had the opportunity to have the report

reviewed by a mental health expert before filing this memorandum. The government is not

seeking a continuance of the sentencing hearing but may request permission to file a short

supplemental submission regarding the evaluation before the sentencing hearing.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly

administration of the democratic process.” 6 As with the nature and circumstances of the offense,


6
  Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s
Statement”), available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf
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this factor supports a sentence of incarceration. Mostofsky’s criminal conduct, assaulting a police

officer and corruptly obstructing of an official proceeding, is the epitome of disrespect for the law.

When Mostofsky entered the Capitol grounds, the Capitol itself, it was abundantly clear to him

that lawmakers, and the police officers who tried to protect them, were under siege. Police officers

were overwhelmed, outnumbered, and in some cases, in serious danger. The rule of law was not

only disrespected; it was under attack that day. A lesser sentence would suggest to the public, in

general, and other rioters, specifically, that attempts to obstruct official proceedings and assaults

on police officers are not taken seriously. In this way, a lesser sentence could encourage further

abuses. See Gall, 552 U.S. at 54 (it is a “legitimate concern that a lenient sentence for a serious

offense threatens to promote disrespect for the law”).

         D.     The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                        General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C. ' 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 7 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol. The violence at the Capitol on January 6 was cultivated to


7
    See 18 U.S.C. § 2331(5) (defining “‘domestic terrorism’”).
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interfere, and did interfere, with one of the most important democratic processes we have: the

transfer of power. As noted by Judge Moss during sentencing, in United States v. Paul Hodgkins,

21-cr-188-RDM:

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

       The gravity of these offenses demands deterrence. This was not a protest. See id. at 46 (“I

don’t think that any plausible argument can be made defending what happened in the Capitol on

January 6th as the exercise of First Amendment rights.”). And it is important to convey to future

rioters and would-be mob participants—especially those who intend to improperly influence the

democratic process—that their actions will have consequences. There is possibly no greater factor

that this Court must consider.

                                        Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of the requested incarceration sentence.     Mostofsky has expressed little

remorse for his criminal conduct on January 6. In fact, the only indication that Mostofsky is

remorseful for his January 6th criminal conduct is in a two-sentence statement he made to the PSR

drafter. In that statement Mostofsky claims, “he should not have engaged with a law enforcement


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officer at a barricade in the restricted area and should not have taken the police vest and shield.”

PSR ¶34. Mostofsky also “indicated he feels remorse for what he has done and vows that the

conduct will never be repeated.” Id.

       Mostofsky does not apologize to the several officers he obstructed. He does not address

how his use of protective equipment during this violent riot left officers vulnerable. Mostofsky

does not address his decision to be among the first to enter the Capitol, even after seeing the

violence with which was used to enter building. And Mostofsky does not address his decision to

parade within the capitol with stolen police equipment to further chide officers.

       A better gauge of Mostofsky remorse or lack thereof are his communications in the days

immediately following January 6th. In those communications, Mostofsky showed no remorse.

Instead, Mostofsky claimed he planned to keep the stolen police vest as an heirloom for his

grandchildren.    Mostofsky claimed overconfidence as opposed to shame, when he claimed

because of his family connections, “They have nothing on me.” Mostofsky’s comments about

taking police gear “like it was a video game” or being “bored” while inside the Capitol, show

smugness not contrition. Mostofsky’s serious crimes and lack of remorse compel a sentence

sufficient to provide specific deterrence from committing future crimes.

       E.        The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying


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with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96

(2007); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity courts lack to ‘base its

determinations on empirical data and national experience, guided by professional staff with

appropriate expertise,’” and “to formulate and constantly refine national sentencing standards.”

Kimbrough, 552 U.S. at 108. Accordingly, courts must give “respectful consideration to the

Guidelines.” Id. at 101. As the Third Circuit has stressed:

       The Sentencing Guidelines are based on the United States Sentencing
       Commission’s in-depth research into prior sentences, presentence investigations,
       probation and parole office statistics, and other data. U.S.S.G. §1A1.1, intro,
       comment 3. More importantly, the Guidelines reflect Congress’s determination of
       potential punishments, as set forth in statutes, and Congress’s on-going approval of
       Guidelines sentencing, through oversight of the Guidelines revision process. See
       28 U.S.C. § 994(p) (providing for Congressional oversight of amendments to the
       Guidelines). Because the Guidelines reflect the collected wisdom of various
       institutions, they deserve careful consideration in each case. Because they have
       been produced at Congress's direction, they cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that Asignificantly increases the likelihood that the sentence is a reasonable

one.” Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that might

achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

       Here, while the Court must balance all of the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court

knows, the government has charged a considerable number of persons with crimes based on the

January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected to

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Guidelines analysis. In order to reflect Congress’s will—the same Congress that served as a

backdrop to this criminal incursion—the Guidelines will be a powerful driver of consistency and

fairness moving forward.

       F.      Unwarranted Sentencing Disparities

       Finally, as to 18 U.S.C. § 3553(a)(6)—the need to avoid unwarranted sentencing

disparities—the crimes that the defendant and others like him committed on January 6 are

unprecedented. These crimes defy statutorily appropriate comparisons to other obstructive related

conduct in other cases. To try to mechanically compare other § 231 defendants prior to January 6,

2021, would be a disservice to the magnitude of what the riot entailed and signified.

       As of the date of this sentencing memorandum, no Capitol riot defendants have been

sentenced to a Civil Disorder violation of 18 U.S.C. § 231. And here, Mostofsky faces a sentence

for a Civil Disorder offense, and two misdemeanor violations of theft and illegal entry into a

restricted building. Particularly given the absence of strongly comparable cases involving other

January 6 defendants, a sentence within the Guidelines range would not create an unwarranted

disparity under 18 U.S.C. § 3553(a)(6). See United States v. Accardi, 669 F.3d 340, 346 (D.C.

Cir. 2012) (defendant’s Guidelines range sentence of 40 years’ incarceration did not create an

unwarranted disparity; the D.C. Circuit “applies the presumption” that a court “may presume that

a Guidelines-compliant sentence is reasonable”); see also United States v. Mattea, 895 F.3d 762,

768 (D.C. Cir. 2018) (“the district court adequately considered the need to avoid unwarranted

disparities and did not abuse its discretion” when it denied a downward variance from the

applicable Guidelines range; other defendants who received downward variance in other cases

were not “similarly situated” with defendant).


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        In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

        Accordingly, the recommendation here does not constitute an unwarranted sentencing

disparity.

    VII.     RESTITUTION

        The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” 8 United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011). Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990), identify



8
  The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at
18 U.S.C. § 3663A), which “requires restitution in certain federal cases involving a subset of the
crimes covered” in the VWPA, Papagno, 639 F.3d at 1096, does not apply here. See 18 U.S.C. §
3663A(c)(1).
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a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2), and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

       Those principles have straightforward application here. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that Mostofsky must pay $2,000 in restitution to the Architect of

the Capitol, which reflects in part the role Mostofsky played in the riot on January 6. 9 Plea

Agreement at ¶ 11. As the plea agreement reflects, the riot at the United States Capitol had caused

“approximately $1,495,326.55” in damages, based on loss estimates supplied by the Architect of

the Capitol in mid-May 2021. Id. Mostofsky’s restitution payment must be made to the Clerk of

the Court, who will forward the payment to the Architect of the Capitol. See PSR ¶ 137.

    VIII. CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of imprisonment of 15 months, which is a mid-range sentence as calculated by the

government and as agreed upon by the parties in the plea agreement, restitution of $2,000 and the

mandatory $100 special assessment for the felony count of conviction and $25 special assessment

for each misdemeanor count of conviction.




9
  Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).
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                             Respectfully submitted,

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